                Case 3:18-cv-05215-RJB Document 52 Filed 06/21/19 Page 1 of 4




1

2

3                                                                                      Hon. Robert J. Bryan
4

5

6                                   UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON AT TACOMA
7
     DEMOND LAVELLE BABB, a single
8    person,
                                                                No. 3:18-cv-05215-RJB
9                         Plaintiff,
                                                                STIPULATION AND ORDER OF
10             vs.                                              WITHDRAWAL AND SUBSTITUTION
                                                                OF COUNSEL
11   CITY OF TACOMA, a Washington
     Municipal Corporation; "JOHN DOES 1-2"
12   and "JANE DOES 1-2", husbands and wives;
     CITY OF FIFE, a Washington Municipal                       [CLERK’S ACTION REQUESTED]
13   Corporation; "JOHN DOES 3-7" and "JANE
     DOES 3-7", husbands and wives; SOUTH
14   CORRECTIONAL ENTITY, a Washington
     Municipal Corporation; and "JOHN DOES 8-
15   15" and "JANE DOES 8-15", husbands and
     wives,
16
                          Defendants.
17

18                                               I. STIPULATION
19             1.         This Stipulation and Proposed Order for withdrawal and substitution of counsel

20   is being submitted pursuant to LCR 83.2(b)(1).

21             2.         This stipulation applies to representation of parties in the above-captioned case.

22             3.         All parties, through their respective undersigned counsel, stipulate and agree that

23   attorney Michele C. Atkins and Chad W. Beck of the law firm of Fain Anderson VanDerhoef

24   Rosendahl O’Halloran Spillane, PLLC should hereinafter be the attorneys that represent

25

     STIPULATION AND ORDER OF WITHDRAWAL
     AND SUBSTITUTION OF COUNSEL - 1
     3:18-cv-05215-RJB
     babb 18-5215 stip sub counsel ordeer.doc
                Case 3:18-cv-05215-RJB Document 52 Filed 06/21/19 Page 2 of 4




1
     Defendants South Correctional Entity and John Does 8-15 and Jane Does 8-15 in the above-
2
     captioned case.
3
               4.         All parties, through their respective undersigned counsel, stipulate and agree that
4
     attorneys Craig McIvor and Kathryn Childers of the law firm of Lee Smart, P.S., Inc. should be
5
     permitted to withdraw from representing Defendants South Correctional Entity and John Does
6
     8-15 and Jane Does 8-15 in the above-captioned case, and that such withdrawal should take
7
     effect on immediately.
8
               DATED this 14th day of June, 2019.
9
      DATED:                                              DATED:
10
      LEE SMART, P.S., INC.                               FAIN ANDERSON VANDERHOEF
11                                                        ROSENDAHL O’HALLORAN SPILLANE,
                                                          PLLC
12
      By:_s /__________________________
13       Craig L. McIvor, WSBA No. 12745
                                              By:__s/ _________________________
14    By:_s /__________________________          Michele C. Atkins, WSBA No. 32435
         Kathryn Childers, WSBA No. 45231
15       Of Attorneys for Defendants South By:__s/ _________________________
         Correctional Entity and John Does 8-    Chad W. Beck, WSBA No. 45773
16       15 and Jane Does 8-15                   Substituting Attorneys for Defendant
         Lee Smart, P.S., Inc.                   Defendants South Correctional Entity and
17       701 Pike Street, Suite 1800             John Does 8-15 and Jane Does 8-15
         Seattle, WA 98101                       701 5th Ave Ste 4750
18       Phone: (206) 624-7990                   Seattle, WA 98104-7089
         Fax: (206) 624-5944                     Ph: (206) 749-0094
19       E-mail: clmc@leesmart.com               Fax: (206) 749-0194
         E-mail: kc@leesmart.com                 E-mail: michele@favros.com
20                                               E-mail: chad@favros.com
21    DATED:                                              DATED:
22
      LEBRON LAW GROUP                                    PACIFICA LAW GROUP LLP
23

24
      By:__s/_________________________
25       Deola Lebron, WSBA No. 41290                     By:__email consent_____________________

     STIPULATION AND ORDER OF WITHDRAWAL
     AND SUBSTITUTION OF COUNSEL - 2
     3:18-cv-05215-RJB
     babb 18-5215 stip sub counsel ordeer.doc
                Case 3:18-cv-05215-RJB Document 52 Filed 06/21/19 Page 3 of 4




1          Attorney for Plaintiff                         Matthew J. Segal, WSBA No. 29797
           3615 Steilacoom Boulevard, Suite 301           Attorneys for Defendant SCORE and John
2
           Lakewood, WA 98499-4580                        Does 8-15
3          Phone (253) 589-0909                           1191 2nd Avenue, Suite 2000
           Fax (253) 267-0626                             Seattle, WA 98101
4          E-mail deola@lebronlawgroup.com                Phone (206) 245-1700
                                                          Fax (206) 245-1750
5                                                         E-mail
                                                          Matthew.Segal@PacificaLawGroup.com
6

7     DATED:

8     KEATING, BUCKLIN &
      MCCORMACK, INC., P.S.
9

10
      By:__email consent__________________
11       Stewart A. Estes, WSBA No. 15535
         Associated Counsel for Defendant
12
         SCORE
13       800 Fifth Avenue, Suite 4141
         Seattle, WA 98104-3175
14       Main (206) 623-8861
         Fax (206) 223-9423
15       Email sestes@kbmlawyers.com
16                                               II. ORDER
17             THIS MATTER, having come before the Court on the parties’ Stipulation for
18   Withdrawal and Substitution of Counsel, and the Court being fully advised in the premises,
19   now, therefore, it is ORDERED that:
20             1.         Michele C. Atkins and Chad W. Beck of the law firm of Fain Anderson
21   VanDerhoef Rosendahl O’Halloran Spillane, PLLC should hereinafter be the attorneys that
22   represent Defendants South Correctional Entity and John Does 8-15 and Jane Does 8-15 in the
23   three above-captioned case.
24             2.         Attorneys Craig McIvor and Kathryn Childers of the law firm of Lee Smart,
25   P.S., Inc. should be permitted to withdraw from representing Defendants South Correctional

     STIPULATION AND ORDER OF WITHDRAWAL
     AND SUBSTITUTION OF COUNSEL - 3
     3:18-cv-05215-RJB
     babb 18-5215 stip sub counsel ordeer.doc
                Case 3:18-cv-05215-RJB Document 52 Filed 06/21/19 Page 4 of 4




1
     Entity and John Does 8-15 and Jane Does 8-15 in the above-captioned cases, and that such
2
     withdrawal should take effect on immediately.
3
               The Clerk shall immediately amend the docket to reflect the changes in representation
4
     specified above.
5
               IT IS SO ORDERED.
6
               ENTERED this 21st day of June, 2019.
7

8

9
                                                A
                                                ROBERT J. BRYAN
10                                              United States District Judge
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

     STIPULATION AND ORDER OF WITHDRAWAL
     AND SUBSTITUTION OF COUNSEL - 4
     3:18-cv-05215-RJB
     babb 18-5215 stip sub counsel ordeer.doc
